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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
                                                     :
       v.                                            :      No. 21-MJ-115 (RMM)
                                                     :
                                                     :
EMANUEL JACKSON,                                     :
    Defendant.                                       :

            CONSENT MOTION TO CONTINUE PRELIMINARY HEARING

       Emanuel Jackson, by and through undersigned counsel, and the United States Attorney's

Office (USAO) respectfully move this Court to continue the preliminary hearing currently

scheduled for April 9, 2021.

       In support of the motion, counsel states the following:

       1. Mr. Jackson’s case is scheduled for a preliminary hearing on April 9, 2020.

       2. There are outstanding issues related to Mr. Jackson’s case, that the parties are

            continuing to address.

       3. As such, the parties request that the Court continue the preliminary hearing to June 11,

            2021.

       4. Counsel submits that it is in the interest of justice that the time between now and the

            next hearing shall be excluded pursuant to the Speedy Trial Act.

WHEREFORE, Mr. Jackson respectfully requests that the Court continue the preliminary hearing

scheduled for April 9, 2021 to June 11, 2021.

                                             Respectfully submitted,

                                             /s/ Brandi Harden
                                             Brandi Harden, Esq.
                                             Counsel for Emanuel Jackson
                                             Bar No. 470-706
                                             Harden & Pinckney, PLLC
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                                CERTIFICATE OF SERVICE

I hereby certify that on April 8, 2021, I caused a copy of the foregoing motion to be served on

counsel of record via ECF.


                                                     /s/ Brandi Harden
                                                     _______________________________
                                                     Brandi Harden, Esq.
